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                                                                                     E-FILED
                                                     Friday, 25 September, 2020 05:33:46 PM
                                                                 Clerk, U.S. District Court, ILCD

                IN THE UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF ILLINOIS
                        SPRINGFIELD DIVISION


LIBERTY MUTUAL FIRE                 )
INSURANCE COMPANY,                  )
                                    )
            Plaintiff,              )
                                    )
      v.                            )     Case No. 19-cv-3138
                                    )
KELLIE M. GLICK and                 )
KACI CLAYTON,                       )
                                    )
            Defendants.             )


                                  OPINION
TOM SCHANZLE-HASKINS, U.S. MAGISTRATE JUDGE:

      Liberty Mutual Fire Insurance Company’s (Liberty) Motion for

Sanctions (d/e 30) (Motion) is DENIED with leave to refile. Liberty asks for

sanctions under Fed. R. Civ. P. 37(b)(2) for Defendant Glick’s failure to

comply with this Court’s discovery order, entered by Text Order dated

March 31, 2020. Defendants have not responded and so are deemed to

have no opposition to the Motion. Local Rule 7.1(B)(2).

      Liberty’s sanction request, however, is too vague to grant. The Court

had ordered Glick to respond in full to Liberty’s discovery interrogatories

and requests to produce. Text Order entered March 31, 2020. Liberty


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states in the Motion that Glick failed to comply with the Order. Liberty asks

for the following relief as a sanction for Glick’s failure to comply with this

Court’s discovery order:

      Liberty also requests that this Court enter an order sanctioning
      Glick pursuant to Federal Rules of Civil Procedure 37(b)(2)(A)
      and ordering that the matters embraced in Liberty’s First Set of
      Interrogatories to Kellie Glick, and First Set of Requests for
      Production to Kellie Glick be taken as established for purposes
      of this action.

Motion, at 5. Liberty’s interrogatories and requests to produce “embrace”

many “matters,” but do not assert any facts or conclusions of law that would

be established in a trial; the interrogatories only ask questions and the

requests to produce only ask for documents. See Motion, Exhibits C and G,

Liberty First Set of Requests for Production and Liberty’s First Set of

Interrogatories. The Court, therefore, cannot determine what “matters”

Liberty wishes to be “established for purposes of this action.” As a result,

this Court cannot provide the relief requested.

      The Court grants Liberty leave to refile the Motion to state its

requested sanction more clearly. The Court further notes that Defendant

Glick provided some information in response to Liberty’s interrogatories.

See Motion, Exhibit F, Glick Response to Interrogatories. The Court will

consider that response in fashioning any sanction.



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     THEREFORE, IT IS ORDERED that Liberty Mutual Fire Insurance

Company’s Motion for Sanctions (d/e 30) is DENIED with leave to refile.

ENTER: September 25, 2020

                            s/ Tom Schanzle-Haskins
                           TOM SCHANZLE-HASKINS
                       UNITED STATES MAGISTRATE JUDGE




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